                       Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 1 of 46



            1      COOLEY LLP
                   MICHAEL G. RHODES (116127)
            2      (rhodesmg@cooley.com)
                   WHITTY SOMVICHIAN (194463)
            3      (wsomvichian@cooley.com)
                   LAUREN J. POMEROY (291604)
            4      (lpomeroy@cooley.com)
                   101 California Street, 5th Floor
            5      San Francisco, CA 94111-5800
                   Telephone: (415) 693-2000
            6      Facsimile: (415) 693-2222

            7      Attorneys for Defendant
                   FACEBOOK, INC.
            8

            9                                       UNITED STATES DISTRICT COURT

          10                                       NORTHERN DISTRICT OF CALIFORNIA

          11                                              SAN JOSE DIVISION

          12

          13       KELLY WHALEN, individually and on                     Case No.
                   behalf of all others similarly situated,
          14                                                             DECLARATION OF LAUREN J. POMEROY
                                      Plaintiff,                         IN SUPPORT OF DEFENDANT FACEBOOK,
          15                                                             INC.’S NOTICE OF REMOVAL OF ACTION
                          v.                                             PURSUANT TO 28 U.S.C. §§ 1332(d)
          16
                   FACEBOOK, INC.,                                       Cal. Superior Court, County of San Mateo
          17                                                             (Case No. 20-CIV-03346)
                                      Defendant.
          18

          19              I, Lauren J. Pomeroy, hereby declare as follows:
          20              1.      I am an attorney admitted to practice law in the State of California and an associate at
          21       Cooley, LLP, counsel for Facebook, Inc. (“Facebook”). Except as otherwise noted, I have personal
          22       knowledge of the facts herein and if called to testify, could and would testify competently hereto.
          23              2.      I submit this declaration pursuant to 28 U.S.C. §§ 1332, 1441, and 1453 and in support
          24       of Facebook’s Notice of Removal filed herewith.
          25              3.      Attached hereto as Exhibit A is true and correct copy of the Register of Actions
          26       obtained from the Clerk’s Office for the Superior Court of the State of California, County of San
          27       Mateo (the “Superior Court”), where the action is now pending and initially filed.
          28
  COOLEY LLP                                                                         DECL. OF LAUREN J. POMEROY ISO DEF.
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                    1.              FACEBOOK INC.’S NOTICE OF REMOVAL OF
                                                                                                                 ACTION
                         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 2 of 46



            1               4.    A true and correct copy of the Complaint, filed August 10, 2020, by Plaintiff Kelley

            2      Whalen (“Plaintiff”) in the Superior Court, Case No. 20CV03346 is attached as Exhibit B to this

            3      declaration.

            4               5.    A true and correct copy of the Summons issued in the Superior Court is attached as

            5      Exhibit C to this declaration. The Summons was obtained from the Clerk’s Office for the Superior

            6      Court.

            7               6.    A true and correct copy of the Civil Case Cover Sheet filed in the Superior Court is

            8      attached as Exhibit D to this declaration. The Civil Case Cover Sheet was obtained from the Clerk’s

            9      Office for the Superior Court.

          10                7.    A true and correct copy of the Certificate Re Complex Case Designation filed in the

          11       Superior Court is attached as Exhibit E to this declaration. The Certificate Re Complex Case

          12       Designation was obtained from the Clerk’s Office for the Superior Court.

          13                8.    A true and correct copy of the Notice of Assignment for All Purposes, Designation as

          14       Complex Case, Setting of Case Management Conference and Complex Fees Due, issued in the

          15       Superior Court is attached as Exhibit F to this declaration. The Notice of Assignment for All Purposes

          16       was obtained from the Clerk’s Office for the Superior Court.

          17       ///

          18       ///

          19       ///

          20       ///

          21       ///

          22       ///

          23       ///

          24       ///

          25       ///

          26       ///

          27       ///

          28       ///
  COOLEY LLP                                                                       DECL. OF LAUREN J. POMEROY ISO DEF.
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                   2.             FACEBOOK INC.’S NOTICE OF REMOVAL OF
                                                                                                               ACTION
                       Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 3 of 46



            1               9.     A true and correct copy of the Proof of Service of Summons & Complaint filed in the

            2      Superior Court is attached as Exhibit G to this declaration. The Proof of Service of Summons &

            3      Complaint was obtained from the Clerk’s Office for the Superior Court.

            4               I declare under penalty of perjury under the laws of the United States of America that the

            5      foregoing is true and correct.

            6
                   Dated:         September 9, 2020               COOLEY LLP
            7

            8
                                                                   /s/ Lauren J. Pomeroy
            9                                                     Lauren J. Pomeroy (291604)
                                                                  Attorneys for Defendant
          10                                                      FACEBOOK, INC.
          11

          12                          ATTESTATION PURSUANT TO CIVIL LOCAL RULE 5-1
          13                I, Whitty Somvichian, attest that concurrence in the filing of this document has been obtained
          14       from the other signatory. Executed on September 9, 2020 in San Francisco, CA.
          15

          16                                                       /s/ Whitty Somvichian
                                                                  Whitty Somvichian (194463)
          17                                                      Attorneys for Defendant
                                                                  FACEBOOK LLC
          18

          19

          20

          21

          22

          23

          24

          25

          26

          27

          28
  COOLEY LLP                                                                        DECL. OF LAUREN J. POMEROY ISO DEF.
ATTORNEYS AT LAW
 SAN FRANCISCO
                                                                    3.             FACEBOOK INC.’S NOTICE OF REMOVAL OF
                                                                                                                ACTION
Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 4 of 46




                 EXHIBIT A
9/3/2020              Case 4:20-cv-06361-KAW Document 1-1
                                                       DetailsFiled 09/09/20 Page 5 of 46




             Case Information

             20-CIV-03346 | KELLY WHALEN vs FACEBOOK, INC

             Case Number                               Court                                 Judicial Officer
             20-CIV-03346                              Civil Unlimited                       Weiner, Marie S.
             File Date                                 Case Type                             Case Status
             08/10/2020                                Complex Civil Unlimited Class         Active
                                                       Action




             Party

             Plaintiff                                                                       Active Attorneys 
             WHALEN, KELLY                                                                   Lead Attorney
                                                                                             CARPENTER, TODD D
                                                                                             Retained




             Defendant
             FACEBOOK, INC




             Cause of Action


                     File Date           Cause of Action             Type         Filed By             Filed Against

                     08/10/2020          Complaint                   Action       WHALEN, KELLY        FACEBOOK, INC

https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#                                        1/4
9/3/2020              Case 4:20-cv-06361-KAW Document 1-1
                                                       DetailsFiled 09/09/20 Page 6 of 46




             Events and Hearings


                08/10/2020 New Filed Case


                08/10/2020 Complaint 


                Complaint CLASS ACTION COMPLAINT DEMAND FOR JURY TRIAL

                   Comment
                   CLASS ACTION COMPLAINT DEMAND FOR JURY TRIAL


                08/10/2020 Civil Case Cover Sheet 


                Civil Case Cover Sheet


                08/10/2020 Summons Issued / Filed 


                Summons Issued / Filed


                08/10/2020 Certificate Re: Complex Case Designation 


                Certificate Re: Complex Case Designation


                08/10/2020 Class Action Complex Notice 


                Class Action Complex Notice


                08/10/2020 Cause Of Action 


                   Action                      File Date
                   Complaint                   08/10/2020



                08/27/2020 Proof of Service by PERSONAL SERVICE of 


                Proof of Service by PERSONAL SERVICE of SUMMONS;CLASS ACTION COMPLAINT;CIVIL CASE
                COVER SHEET;CERTIF

                   Comment
                   SUMMONS;CLASS ACTION COMPLAINT;CIVIL CASE COVER SHEET;CERTIFICATE RE:
                   COMPLEX CASE DESIGNATION;ADR INFORMATION SHEET;ADR STIPULATION AND
                   EVALUATION INSTRUCTIONS CASE MANAGEMENT STATEMENT(BLANK)


https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#                     2/4
9/3/2020              Case 4:20-cv-06361-KAW Document 1-1
                                                       DetailsFiled 09/09/20 Page 7 of 46


                11/30/2020 Case Management Conference 


                Judicial Officer
                Weiner, Marie S.

                Hearing Time
                9:00 AM

                Comment
                CLASS ACTION SUIT




             Financial

             WHALEN, KELLY
                    Total Financial Assessment                                                          $1,435.00
                    Total Payments and Credits                                                          $1,435.00


               8/10/2020      Transaction                                                              $1,435.00
                              Assessment

               8/10/2020      eFile Online Payment           Receipt # 2020-030970-   Whalen, Kelly   ($1,435.00)
                                                             HOJ




             Documents


                Complaint CLASS ACTION COMPLAINT DEMAND FOR JURY TRIAL

                Civil Case Cover Sheet
                Summons Issued / Filed

                Certificate Re: Complex Case Designation
                Class Action Complex Notice

                Proof of Service by PERSONAL SERVICE of SUMMONS;CLASS ACTION COMPLAINT;CIVIL CASE
                COVER SHEET;CERTIF

https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#                                     3/4
9/3/2020              Case 4:20-cv-06361-KAW Document 1-1
                                                       DetailsFiled 09/09/20 Page 8 of 46




https://odyportal-ext.sanmateocourt.org/Portal-External/Home/WorkspaceMode?p=0#             4/4
Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 9 of 46




                  EXHIBIT B
          Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 10 of 46




1    CARLSON LYNCH, LLP
     TODD D. CARPENTER (234464)
2    1350 Columbia Street, Suite 603
     San Diego, CA 92101
3    Tel: 619-762-1910
     Fax: 619-756-6991
4    tcarpenter@carlsonlynch.com                                         8/10/2020

5    Attorneys for Plaintiff and the Proposed Class

6    [Additional counsel listed on signature page.]

7

8                                  SUPERIOR COURT OF CALIFORNIA

9                                        COUNTY OF SAN MATEO
10   KELLY WHALEN, Individually and on Behalf of            Case No. 20-CIV-03346
     All Others Similarly Situated,
11                                                          CLASS ACTION COMPLAINT
                     Plaintiff,
12                                                          DEMAND FOR JURY TRIAL
             v.
13
     FACEBOOK, INC.,
14
                     Defendant.
15

16          Plaintiff Kelly Whalen, individually and on behalf of all others similarly situated, through

17   undersigned counsel, brings this Class Action Complaint for Violations of the Illinois Biometric

18   Information Privacy Act (“BIPA”), 740 ILCS 14/1 et seq., against defendant Facebook, Inc.

19   (“Facebook” or “Defendant”), and alleges the following upon information and belief, except as to the

20   allegations within Plaintiff’s personal knowledge. Plaintiff believes that substantial additional

21   evidentiary support will exist for the allegations set forth herein after a reasonable opportunity for

22   discovery.

23   I.     SUMMARY OF THE ACTION
24          1.      Facebook, Inc. is a social media conglomerate founded in 2004. It owns its eponymous

25   social networking platform in addition to a host of subsidiaries.

26          2.      Instagram is a photo and video-sharing social networking service that is owned by

27   Facebook, Inc. It was initially released as an application for the iOS mobile operating system in 2010

28   before being acquired by Facebook in 2012. Since its acquisition by Facebook, Instagram has steadily


                                                  1
                                       CLASS ACTION COMPLAINT
           Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 11 of 46




1    amassed new users worldwide. In 2019, there were more approximately 118 million users in the

2    United States alone.

3             3.       Facebook’s social media platform offers a multi-faceted approach for users to connect

4    with one another. In addition to sharing photos and videos, Facebook is a social networking service

5    which allows users to share news articles, create special interest groups, shop, and more. Instagram,

6    on the other hand, is more limited in its scope of use. Its primary features are photo and video sharing,

7    direct messaging, and “stories,” which are photos and/or videos which disappear from a user’s profile

8    after 24 hours.

9             4.       Earlier this year Facebook agreed to pay $650 million to settle a class action that
10   accuses the company of illegally harvesting the protected biometrics of users of its Facebook platform.
11   As set forth below, Facebook also illegally harvests the protected biometrics of users of its Instagram
12   application.
13            5.       In direct violation of Sections 15(a)-(e) of the BIPA, Facebook is actively collecting,
14   storing, disclosing, profiting from, and otherwise using the biometric information of its reportedly
15   more than 100 million Instagram users without any written notice or informed written consent,
16   including millions of Illinois residents.
17            6.       Facebook has readily admitted to its collection of biometrics from Instagram users. Its
18   facial recognition software works by scanning faces of unnamed people in photos or videos to analyze
19   details of individuals’ faces and creating a corresponding “face template” for each face, and then
20   storing that face template for later use and/or matching it to those already in a database of identified
21   people. Facebook has said that users are in charge of that process, but in reality, people cannot actually
22   control the technology because Facebook scans their faces in photos and videos uploaded by other
23   users, even if their individual facial recognition setting is turned off.1
24            7.       Facebook surreptitiously captures its Instagram users’ protected biometrics without
25   their informed consent and, worse yet, without actually informing them of its practice. Upon
26   information and belief, once Facebook captures its Instagram users’ protected biometrics, it uses them
27   to bolster its facial recognition abilities across all of its products, including the Facebook application,
28
     1
         See https://www.nytimes.com/2018/07/09/technology/facebook-facial-recognition-privacy.html
                                                    2
                                         CLASS ACTION COMPLAINT
            Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 12 of 46




1    and shares this information among various entities. Facebook does all of this without providing any

2    of the required notices or disclosures required by Illinois law.

3             8.      Plaintiff brings this action individually and on behalf of a proposed class in order to

4    stop Facebook’s violations of the BIPA and to recover statuary damages for Facebook’s unauthorized

5    collection, storage, disclosure, profiting from, and use of their biometric information in violation of

6    the BIPA.

7    II.      PARTIES
8             9.      Plaintiff Kelly Whalen is, and has been at all relevant times, a resident and citizen of

9    the state of Illinois and a resident of Cook County, Illinois. Plaintiff first created an Instagram account
10   on November 17, 2011 and has used Instagram regularly since that time.
11            10.     During the relevant time period, Ms. Whalen accessed Instagram on both her computer
12   and phone to post photographs, view content posted by other users, and react to that content via
13   comments and “likes.” Ms. Whalen frequently tagged herself and others in photographs posted on
14   Instagram, and appeared in photographs uploaded by others to Instagram. Plaintiff was not aware that
15   any facial recognition data or other biometric data was being collected by Facebook through her
16   Instagram use.
17            11.     Defendant Facebook is a Delaware corporation with its headquarters and principal
18   executive offices at 1601 Willow Road, Menlo Park, California 94025. Facebook is a citizen of the
19   states of Delaware and California. Facebook is also registered to conduct business in the State of
20   Illinois (file number 66267067) and maintains an office in Cook County.
21   III.     JURISDICTION AND VENUE
22            12.     This Court has jurisdiction over this class action pursuant to Cal. Civ. Proc. Code

23   §410.10 and Article VI, §10 of the California Constitution.

24            13.     The Court has personal jurisdiction over Defendant because it has affirmatively

25   established and maintained sufficient contacts with California in that Defendant is registered to do

26   business in this State, is headquartered in this State, and conducts significant business in this State.

27            14.     Venue is proper in this County pursuant to California Civ. Proc. Code §395.5 as

28   StubHub’s principal place of business is in this county, and pursuant to Cal Civ. Code §1780(d) as


                                                    3
                                         CLASS ACTION COMPLAINT
           Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 13 of 46




1    Defendant’s principal place of business is in this county and a substantial portion of the transactions

2    and allegations complained of herein occurred here.

3    IV.     SUBSTANTIVE ALLEGATIONS
4            I.     Biometric Information and the Illinois BIPA

5            15.    A “biometric identifier” is any personal feature that is unique to an individual including

6    fingerprints, iris scans, DNA, facial features and voice, among others. 2

7            16.    The Illinois Legislature has found that “[b]iometrics are unlike other unique identifiers

8    that are used to access finances or other sensitive information.” 740 ILCS 14/5(c). “For example,

9    social security numbers, when compromised, can be changed. Biometrics, however, are biologically
10   unique to the individual; therefore, once compromised, the individual has no recourse, is at heightened
11   risk for identity theft, and is likely to withdraw from biometric-facilitated transactions.” Id.
12           17.    In recognition of this legitimate concern over the security of biometric information,
13   the Illinois Legislature enacted the BIPA, which provides, inter alia, that:
14           No private entity may collect, capture, purchase, receive through trade, or otherwise
             obtain a person’s or a customer’s biometric identifier or biometric information,
15           unless it first:
16                   (1)    informs the subject or the subject’s legally authorized representative in
             writing that a biometric identifier or biometric information is being collected or
17           stored;

18                   (2)     informs the subject or the subject’s legally authorized representative in
             writing of the specific purpose and length of term for which a biometric identifier or
19           biometric information is being collected, stored, and used; and

20                   (3)      receives a written release executed by the subject of the biometric
             identifier or biometric information or the subject’s legally authorized representative.
21

22   740 ILCS 14/15(b).

23           18.    Section 15(a) of the BIPA further provides that:

24           A private entity in possession of biometric identifiers or biometric information must
             develop a written policy, made available to the public, establishing a retention
25           schedule and guidelines for permanently destroying biometric identifiers and
             biometric information when the initial purpose for collecting or obtaining such
26
     2
27     The BIPA defines “biometric information” as “any information, regardless of how it is captured,
     converted, stored, or shared, based on an individual’s biometric identifier used to identify an individual.
28   Biometric information does not include information derived from items or procedures excluded under
     the definition of biometric identifiers.” 740 ILCS 14/10. Plaintiff herein uses the terms “biometric
     information” and “biometric identifier” interchangeably.
                                                   4
                                        CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 14 of 46




1           identifiers or information has been satisfied or within 3 years of the individual’s last
            interaction with the private entity, whichever occurs first.
2

3    740 ILCS 14/15(a).

4           19.     As alleged herein, Facebook’s practices of collecting, storing, and using Instagram

5    users’ biometric information without informed written consent violates all three prongs of §15(b) of

6    the BIPA. Facebook’s failure to provide a publicly available written policy regarding its schedule and

7    guidelines for the retention and permanent destruction of Instagram users’ biometric information

8    within the earlier of 3 years of a user’s last interaction with Facebook or whenever the initial purpose

9    for collecting the biometric information is satisfied violates §15(a) of the BIPA.
10          20.     Facebook has also violated Section 15(c) of the BIPA by selling, leasing, trading, or
11   otherwise profiting from a person’s biometrics, as set forth more fully below.
12          21.     Facebook has likewise violated Sections 15(d)-(e) of the BIPA by disclosing,
13   redisclosing, or otherwise disseminating the biometrics captured from media uploaded to Instagram,
14   as set forth more fully below.
15          II.     Facebook Collects, Stores, Discloses, Profits from, and Otherwise Uses Plaintiffs’
                    and Class Members’ Biometric Information in Violation of the BIPA
16

17          22.     Instagram has over one billion users worldwide and millions of users in Illinois alone.
18          23.     Instagram allows its users to create a personal page where members can upload
19   photographs and videos, participate in live video broadcasts, and communicate and interact with other
20   Instagram users. Approximately 95 million photos are shared on Instagram each day, with over 40
21   billion photos and videos shared on the platform since its inception.
22          24.     Facebook has employed its facial recognition technology continuously from the time
23   it was first introduced in 2010, including the time period after its acquisition of Instagram in 2012,
24   and continuing to the date of the filing of this Complaint.
25          25.     Facebook’s sophisticated facial recognition technology works by collecting and
26   analyzing the facial features of individuals appearing in photographs and videos uploaded to
27   Instagram and generating a “biometric signature” or “face template” of each individual’s face that
28   appears therein. This facial template is based on each person’s facial geometry and is specific to that


                                                  5
                                       CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 15 of 46




1    person. Facebook, upon information and belief, stores those face templates taken from Instagram in a

2    large database of face templates, which database additionally includes face templates Facebook has

3    made from photographs its users have uploaded to other platforms besides Instagram, including

4    photographs uploaded to Facebook. As Facebook’s Instagram and Facebook users continue to

5    manually tag friends, family, and other people they recognize in a photograph, Facebook’s software

6    automatically compares those images to the face templates in its database. If there is a match,

7    Facebook may identify the user.

8           26.     Facebook is then able to identify the individuals whose biometrics it has captured by

9    cross referencing the face templates of individuals appearing in Instagram photographs with face
10   templates that it has already linked with an identified individual (for instance, face templates taken
11   from a face that Instagram or Facebook users have tagged, or with face templates that have been
12   identified via other platforms or companies that Facebook shares its protected biometrics with), and
13   identify the individual when there is a match.
14          27.     Prior to January 1, 2020, Facebook has never informed Instagram users that it collects
15   their biometric data. Rather, the Instagram Data Policy merely states that Facebook collects
16   information “you and others provide” to the app, in the form of both posted content and anything users
17   might see through the camera, and that its systems automatically process the content and
18   communications provided by users to analyze context and what's in them (emphasis added). 3
19          28.     In fact, Facebook actively mislead Instagram users about whether it was collecting

20   facial recognition data. Instagram’s Data Policy states, “If you have it turned on, we use face

21   recognition technology to recognize you in photos, videos and camera experiences.” 4 However,

22   Instagram users have no ability to turn off any facial recognition software within the app. Furthermore,

23   the Instagram Data Policy states, “If we introduce face-recognition technology to your Instagram

24   experience, we will let you know first, and you will have control over whether we use this technology

25   for you.” 5 As set forth below, these statements are untrue.

26
     3
27      See https://help.instagram.com/155833707900388 Section I: What Kinds of Information Do We
     Collect?
28   4
       See https://help.instagram.com/519522125107875 Section II: How Do We Use This Information?
     5
       Id.
                                                  6
                                       CLASS ACTION COMPLAINT
           Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 16 of 46




1             29.        On January 1, 2020, Facebook published, for the first time, its California Privacy

2    Notice for its California users as a supplement to its current Data Policy in compliance with

3    California’s Consumer Privacy Act (CCPA). 6 Instagram admits in this notice that any of the

4    information disclosed within the California Privacy Notice may have been collected from users over

5    the past 12 months. While only California currently requires these types of disclosures to consumers,

6    the contents of the notice demonstrate that Facebook has been collecting biometric data from its

7    Instagram users for, at minimum, the 2019 calendar year. The California Privacy Notice is reproduced

8    in part below (emphasis added):

9
           Categories of Personal               Examples of how Personal             Parties with whom your
10       Information we collect may            Information is used include:        information may be shared
                  include:                                                                   include:
11
     •    Identifiers;                     •    Providing, personalizing, and • People and accounts you
12                                              improving our Products;         share and communicate with;
     • Data with special protections,
13     if you choose to provide it;   • Facilitating transactions,             •    People and accounts with
                                        providing measurement,                      which others share or reshare
14   • Commercial information, if       analytics, advertising, and                 content about you;
       you choose to provide it;        other business services;
15                                                                             •    Apps, websites, and third-
     •    Photos and face imagery          •    Promoting safety, integrity,        party integrations on or using
16        that can be used to create            and security;                       our Products;
          face-recognition templates
17        if you or others choose to       •    Communicating with you;        •    New owners in the event of a
          provide it and you have the                                               change of ownership or
18        setting turned on.               •    Researching and innovating          control of all or part of our
                                                for social good; and                Products or their assets
19   •    Internet or other electronic                                              changes;
          network activity information, • To perform other business
20        including content you view or   purposes.                            •    Partners, including partners
          engage with;                                                              who use our analytics
21                                                                                  services, advertisers,
     •    Location-related information,                                             measurement partners,
22        including precise device                                                  partners offering goods and
          location if you choose to                                                 services in our Products,
23        allow us to collect it;                                                   vendors and service
                                                                                    providers, and researchers
24   •    Audio or visual Information,                                              and academics;
          including photos and videos,
25        if you or others choose to                                           •    Law enforcement or other
          provide it;                                                               third parties in connection
26                                                                                  with legal requests; and
     •    Professional or employment
27        information, if you choose to                                        •    Facebook Companies.
          provide it;
28
     6
         See https://help.instagram.com/2482657248648591 “California Privacy Notice”
                                                     7
                                          CLASS ACTION COMPLAINT
           Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 17 of 46




1
           Categories of Personal          Examples of how Personal             Parties with whom your
2        Information we collect may       Information is used include:        information may be shared
                  include:                                                              include:
3
     •   Education information, if you
4        choose to provide it;

5    •   Financial information, if you
         choose to provide it; and
6
     •   Information derived from
7        other Personal Information
         about you, which could
8        include your preferences,
         interests, and other
9        information used to
         personalize your experience.
10
             30.     Although Facebook’s California Privacy Notice indicates that it collects Instagram
11
     user’s protected biometrics “if you or others choose to provide it and you have the setting turned on,”
12
     Facebook’s belated after-the-fact notice to Instagram users cannot constitute compliance with the
13
     BIPA for a variety of reasons, including that Facebook only allowed Class Members’ to opt out after
14
     it collected their protected biometrics, and even then, only if Class Members knew to look for the opt-
15
     out option, which, upon information and belief, is not even possible through a user’s Instagram
16
     account. 7
17
             31.     In any event, Instagram users cannot opt out. Indeed, Instagram users are not even
18
     given an opportunity to provide a written release because Facebook automatically processes content
19
     and shares it across its platforms. Rochelle Nadhiri, a Facebook spokeswoman, said its system
20
     analyzes faces in users’ photos to check whether they match with those who have their facial
21
     recognition setting turned on. This means that users can never really “opt out” of Facebook’s use of
22
     facial recognition. Even if a user does not have facial recognition activated on their personal account,
23
     their photo may still be scanned, collected, and entered into Facebook’s database if it matches with a
24
     user’s data who does have the facial recognition setting activated. 8 This further means that one can
25
     never truly “opt out” because Facebook must capture and compare the biometrics of a face before
26

27
     7
       See https://help.instagram.com/519522125107875, directing Instagram users to “opt out” via settings
28   on their Facebook profile.
     8
       See https://www.nytimes.com/2018/07/09/technology/facebook-facial-recognition-privacy.html
                                                    8
                                         CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 18 of 46




1    learning if that face in fact matches with faces of users who have their facial recognition setting turned

2    on or off.

3            32.    Further, Facebook concedes that it collects information such as the location of a photo,

4    Instagram users’ current location, where they live, the places they go, and the businesses and people

5    they’re near-to to “provide, personalize and improve our Products.” As such Facebook knows, or

6    should know, that Plaintiffs’ and Class Members are Illinois users. 9

7            33.     Moreover, upon information and belief, Facebook disclosed Instagram users’

8    protected facial templates not only across various teams operating across its own various platforms,

9    but with third parties. Facebook concedes that biometrics harvested from Instagram’s photographs
10   and videos may be shared with other apps, websites, and third-party integrations, Facebook’s partners,
11   including partners who use Facebook’s analytics services, advertisers, measurement partners, partners
12   offering goods and services in Facebook’s products, vendors and service providers, researchers and
13   academics, law enforcement, and Facebook Companies, including Facebook Payments Inc., Onavo,
14   Facebook Technologies, LLC and Facebook Technologies Ireland Limited, WhatsApp Inc.,
15   WhatsApp Ireland Limited, and CrowdTangle. 10
16           34.    Facebook and Instagram share infrastructure, systems, and technology with other

17   Facebook Companies and process information about the user across the Facebook Companies. 11 This

18   includes, upon information and belief, using Facebook’s facial recognition technology to process

19   biometrics collected from Instagram users, which is then used to create new facial templates and/or

20   enhance already-existing facial templates of those users.

21           35.    For example, Facebook is currently the subject of antitrust litigation in Germany,

22   where they are alleged to have broken competition laws by combining personal data collected about

23   users across its different platforms, including Instagram, to create “super profiles” for users. 12 A

24

25
     9
26     See https://help.instagram.com/155833707900388
     10
        See https://help.instagram.com/2482657248648591
27   11
        See https://help.instagram.com/155833707900388 Section IV: How Do the Facebook Companies
28   Work Together?
     12
        See https://www.nytimes.com/2020/06/23/technology/facebook-antitrust-germany.html

                                                   9
                                        CLASS ACTION COMPLAINT
          Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 19 of 46




1    ruling from German regulators prohibited Facebook from combining Facebook user account data with

2    user data on company services like WhatsApp and Instagram. 13

3               36.   Upon information and belief, Facebook’s shared infrastructure, systems, and

4    technology and processing of user information across the Facebook Companies includes using the

5    face templates harvested from its Instagram’s users’ uploaded material to improve the algorithms that

6    power its facial recognition abilities across all of its platforms, including but not limited to its

7    Facebook application where, for example, Facebook uses its facial recognition to suggest tags to

8    Facebook users and lets Facebook users known when their photographs are uploaded by someone

9    else. 14
10              37.   Upon information and belief, Facebook also includes the face templates captured from
11   Instagram users’ uploaded material, as well as Instagram users’ tagging information, to bolster its
12   databases of face templates and tagging information that enables Facebook’s facial recognition to
13   continue learning and improving, which in turn enhances all of Facebook’s facial recognition
14   products, including, for example, its predictive tagging feature on the Facebook application. 15 Several
15   of Facebook’s products, such as Moments, an application Facebook introduced in 2015, capitalizes

16   on Facebook’s facial recognition technology. 16

17              38.   Several of Facebook’s prior patent filings further attest to Facebook’s commercial

18   purposes in developing its facial recognition technologies. These patents reportedly described one

19   system that could detect consumers within stores and match those shoppers’ faces with their social

20   networking profiles and another in which cameras near checkout counters could capture shoppers’

21   faces and match them with their social networking profiles. 17

22

23   13
        See https://www.nytimes.com/2019/02/07/technology/germany-facebook-data.html
     14
        See https://www.facebook.com/help/122175507864081 What is the face recognition setting on
24   Facebook and how does it work?
     15
25         See     https://www.npr.org/sections/alltechconsidered/2016/05/18/477819617/facebooks-facial-
     recognition-software-is-different-from-the-fbis-heres-why#:~:text=Facebook-
26   ,Facebook's%20Moments%20app%20uses%20facial%20recognition%20technology%20to%20group
     %20photos,friends%20who%20are%20in%20them.&text=When%20someone%20tags%20you%20i
27   n,reminder%20of%20a%20shared%20memory. (describing the benefit to facial recognition
     algorithms of additional photographs and tagging information).
28   16
        See https://techcrunch.com/2015/06/15/facial-recogbook/
     17
        See https://www.nytimes.com/2018/07/09/technology/facebook-facial-recognition-privacy.html
                                                   10
                                        CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 20 of 46




1           39.     As such, Facebook profits from its use of its Instagram users’ protected biometrics by

2    using them to improve the accuracy of its own facial recognition services, to expand the datasets

3    which enable its facial recognition software, and to cement its market-leading position in facial

4    recognition and social media.

5           40.     In direct contravention of §15(a) of the BIPA, Facebook has collected Plaintiff’s and

6    Class Members’ face templates without developing a written policy establishing a retention schedule

7    and guidelines for permanently destroying biometric identifiers and biometric information when the

8    initial purpose for collecting such identifiers or information has been satisfied or within 3 years of the

9    individual’s last interaction with Facebook.
10          41.     In direct contravention of §15(b) of the BIPA, Facebook collected Plaintiff’s and Class
11   Members’ face templates without informing them that it would collect, store, and use their biometric
12   facial information, without informing Instagram users of the specific purpose and length of term for
13   which their biometric information would be collected, stored, and used, and without receiving a
14   written release from Instagram users before it began to collect, store, disclose, profit from, and
15   otherwise use their biometric information.
16          42.      In direct contravention of §15(c) of the BIPA, Facebook profited from Plaintiff’s and
17   Class Members’ protected face templates.
18          43.     In direct contravention of §15(d)-(e) of the BIPA, Facebook voluntarily disclosed and
19   otherwise disseminated Plaintiff’s and Class Members’ protected face templates.
20          III.    Plaintiff’s and Class Members’ Injuries and Damages
21          44.     As alleged herein, as a result of Facebook’s unlawful conduct, Plaintiff and Class
22   Members have already sustained injuries and face many more imminent and certainly impending
23   injuries, which injuries they will continue to suffer.
24          45.     Facebook’s unlawful conduct has resulted in, among other things: (a) Plaintiff’s and
25   Class Members’ unique biometric identifiers and information being collected, captured, obtained,
26   disclosed, and otherwise disseminated without the requisite notice having been given and without the
27   requisite releases having been obtained; and (b) Plaintiff and Class Members being deprived of the
28   very control over their biometric identifiers and information that BIPA was designed to protect.


                                                   11
                                        CLASS ACTION COMPLAINT
          Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 21 of 46




1           46.     To this day, Plaintiff and Class Members do not know which, or how many, individuals

2    or entities have received, obtained, accessed, stored, disclosed, or otherwise made use of Plaintiff’s

3    and Class Members’ biometric identifiers and information, exposing them to the imminent and

4    certainly impending injuries of identity theft, fraud, stalking, surveillance, social engineering, and

5    other invasions of privacy. 18

6           47.     As a result of Facebook’s misconduct, Plaintiff and Class Members have no recourse

7    for the fact that their biologically unique information has been compromised. Moreover, Plaintiff and

8    Class Members are likely to withdraw from biometric-facilitated transactions and other facially-

9    mediated electronic participation.
10          IV.     Plaintiff’s Personal Experiences
11          48.     Plaintiff is a resident of Palos Heights, Illinois. Plaintiff signed up for an Instagram
12   account in Palos Heights, Illinois in 2011, and has since then uploaded numerous photographs.
13          49.     Since joining Instagram, Plaintiff has uploaded and posted many photographs to
14   Facebook’s network from Instagram that include images of her face, and Plaintiff has tagged herself
15   in many of those photographs. Plaintiff’s face has also appeared in many photographs that other
16   Instagram users have uploaded to Instagram, and Plaintiff’s face has been tagged by other Instagram
17   users in many such photographs.
18          50.     Many of these photographs were taken in Illinois and were uploaded from Plaintiff’s
19   computer in Illinois.
20          51.     As is the case for Class Members, Facebook has, upon information and belief, captured
21   biometric identifiers and information from Plaintiff’s photographs by automatically locating and
22   scanning Plaintiff’s face, and by extracting geometric data relating to the contours of her face and the
23   distances between her eyes, nose, and ears, data which Facebook then used to create a unique template
24   of Plaintiff’s face, as set forth more fully below.
25

26

27
     18
28           Facial    Recognition      Tech:     10     Views      on      Risks      and    Rewards,
     https://www.forbes.com/sites/forbestechcouncil/2018/04/03/facial-recognition-tech-10-views-on-
     risks-and-rewards/#54d3e1716b3c
                                                     12
                                          CLASS ACTION COMPLAINT
          Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 22 of 46




1           52.     The resulting unique face template was, upon information and belief, stored and used

2    by Facebook for research purposes to develop its own facial recognition technologies across the

3    various services and products it offers in connection with its Facebook Companies.

4           53.     Facebook stores, discloses, profits from, and otherwise uses these face templates

5    without Plaintiff’s knowledge or consent.

6           54.     Plaintiff did not receive notice that Facebook would collect, store, profit from, disclose,

7    or otherwise use her biometric information when she used the Instagram app.

8           55.     Plaintiff never provided informed consent, in writing or otherwise, to Facebook’s

9    collection, creation, storage, or use of her face template or any of her biometric information.
10          56.     Plaintiff accordingly was never provided an opportunity to prohibit or prevent
11   Facebook from collecting, storing, disclosing, or profiting from, or otherwise using her protected
12   biometrics.
13   V.     CLASS ACTION ALLEGATIONS
14          57.     Plaintiff brings this lawsuit on behalf of the following proposed class (the “Class”),
15   pursuant to pursuant to Cal. Civ. Proc. Code § 382, defined as follows:
16          All Illinois residents who had their biometric identifiers, including scans of their
            face geometry collected, captured, received or otherwise obtained by Facebook
17          through photographs uploaded to the Instagram app.
18          58.     Subject to additional information obtained through further investigation and discovery,

19   the foregoing definition of the Class may be expanded or narrowed by amendment or amended

20   complaint.

21          59.     Specifically excluded from the Class are Defendant, its officers, directors, agents,

22   trustees, parents, children, corporations, trusts, representatives, employees, principals, servants,

23   partners, joint-venturers, or any entities controlled by Defendant, and its heirs, successors, assigns, or

24   other persons or entities related to or affiliated with Defendant and/or its officers and/or directors, the

25   judge assigned to this action, and any member of the judge’s immediate family.

26          60.     Numerosity. The members of the Class are so numerous that individual joinder is

27   impracticable. Upon information and belief, plaintiff alleges that the Class contains many thousands

28   of members. Although the precise number of Class members is unknown to plaintiff, the true number


                                                   13
                                        CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 23 of 46




1    of Class members is known by Defendant, and thus, may be notified of the pendency of this action by

2    first class mail, electronic mail and/or published notice.

3           61.      Existence and predominance of common questions of law and fact. Common

4    questions of law and fact exist as to all members of the Class and predominate over any questions

5    affecting only individual Class members. These common legal and factual questions include, but are

6    not limited to, the following:

7                    (a)    whether Defendant collected, captured, received, or otherwise obtained

8           biometric identifiers or biometric information from Plaintiff and the Class;

9                    (b)    whether Defendant informed Plaintiff and the Class before collecting, using,
10          and storing their biometric identifiers or biometric information, as required by §15(b) the
11          BIPA;
12                   (c)    whether Defendant informed Plaintiff and the Class of the specific purpose and
13          length of term for which a biometric identifier or biometric information is being collected, stored
14          and used, as required by §15(b) the BIPA;
15                   (d)    whether Defendant obtained a written release, as defined by the BIPA, from
16          Plaintiff and the Class to collect, store, and use their biometric identifiers or biometric
17          information;
18                   (e)    whether Defendant used biometric identifiers to identify Plaintiff and the
19          Class;
20                   (f)    whether Defendant provided a publicly available written policy establishing a
21          retention schedule and guidelines for permanently destroying biometric identifiers and
22          biometrics information when the initial purpose for collecting such identifiers or information
23          had been satisfied or within 3 years of the individual’s last interaction with Facebook, as
24          required by §15(a) of the BIPA;
25                   (g)    whether Defendant sold, leased, traded, or otherwise profited from Plaintiff’s
26          or Class Members’ biometric identifiers and biometric information in violation of §15(c) of
27          the BIPA;
28


                                                   14
                                        CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 24 of 46




1                   (h)     whether Defendant disclosed, redisclosed, or otherwise disseminated

2           Plaintiff’s and Class Members’ biometric identifiers or biometric information in violation of

3           §15(d) of the BIPA;

4                   (i)     whether Defendant protected Plaintiff’s and Class Members’ biometric

5           identifiers or biometric information from disclosure pursuant as required by §15(e) of the

6           BIPA;

7                   (j)     whether Defendant’s violations of the BIPA were committed intentionally,

8           recklessly or negligently;

9                   (k)     whether Plaintiff and the Class are entitled to statutory damages under the
10          BIPA and the correct measure of those damages; and
11                  (l)     whether Plaintiff and the Class are entitled to declaratory and injunctive relief.
12          62.     Typicality. Plaintiff’s claims are typical of the claims of the other members of the Class
13   in that Defendant collected, stored and used her biometric information without informed consent in
14   the exact same manner as every other Class member.
15          63.     Adequacy of representation. Plaintiff will fairly and adequately protect the interests
16   of the Class. Plaintiff has retained counsel highly experienced in complex consumer class action
17   litigation, and Plaintiff intends to vigorously prosecute this action. Further, Plaintiff has no interests
18   that are antagonistic to those of the Class.
19          64.     Superiority. A class action is superior to all other available means for the fair and
20   efficient adjudication of this controversy. The damages or other financial detriment suffered by
21   individual Class members is relatively small compared to the burden and expense that would be
22   entailed by individual litigation of their claims against Defendant. It would thus be virtually
23   impossible for the Class, on an individual basis, to obtain effective redress for the wrongs committed
24   against them. Furthermore, even if Class members could afford such individualized litigation, the
25   court system could not. Individualized litigation would create the danger of inconsistent or
26   contradictory judgments arising from the same set of facts. Individualized litigation would also
27   increase the delay and expense to all parties and the court system from the issues raised by this action.
28   By contrast, the class action device provides the benefits of adjudication of these issues in a single


                                                    15
                                         CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 25 of 46




1    proceeding, economies of scale, and comprehensive supervision by a single court, and presents no

2    unusual management difficulties under the circumstances here.

3           65.     The Class may also be certified because:

4                   (a)     the prosecution of separate actions by individual Class members would create a

5           risk of inconsistent or varying adjudication with respect to individual Class members that

6           would establish incompatible standards of conduct for the Defendant;

7                   (b)     the prosecution of separate actions by individual Class members would create a

8           risk of adjudications with respect to them that would, as a practical matter, be dispositive of

9           the interests of other Class members not parties to the adjudications, or substantially impair or
10          impede their ability to protect their interests; and/or
11                  (c)     Defendant has acted or refused to act on grounds generally applicable to the
12          Class as a whole, thereby making appropriate final declaratory and/or injunctive relief with
13          respect to the members of the Class as a whole.
14                                                   COUNT I
15            Violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/15(a)
                                     (On Behalf of Plaintiff and the Class)
16

17          66.     Plaintiff realleges and incorporates by reference the allegations contained in the
18   preceding paragraphs as though fully set forth herein.
19          67.     Section 15(a) of the BIPA requires:
20          A private entity in possession of biometric identifiers or biometric information must
            develop a written policy, made available to the public, establishing a retention
21          schedule and guidelines for permanently destroying biometric identifiers and
            biometric information when the initial purpose for collecting or obtaining such
22          identifiers or information has been satisfied or within 3 years of the individual’s last
            interaction with the private entity, whichever occurs first.
23

24   740CS 14/15(a).
25          68.     Facebook does not provide a publicly available retention schedule or guidelines for
26   permanently destroying Instagram users’ biometric identifiers and biometric information when the
27   initial purpose for collecting such identifiers or information has been satisfied or within 3 years of the
28   individual’s last interaction with Facebook as required by the BIPA. Therefore, Facebook has violated


                                                   16
                                        CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 26 of 46




1    §15(a) of the BIPA. Facebook’s violations of §15(a) of the BIPA were intentional or reckless or,

2    alternatively, negligent.

3           69.     As a result of Facebook’s violations of §15(a) of the BIPA, Plaintiff seeks the

4    following relief individually and on behalf of the Class: (l) injunctive and equitable relief pursuant to

5    740 ILCS 14/20(4) requiring Facebook to comply with §15(a) of the BIPA’s requirement to establish

6    and provide a publicly available retention schedule or guidelines for permanently destroying its users’

7    biometric identifiers and biometric information; (2) statutory damages of $5,000 for each intentional

8    or reckless violation of §15(a) of the BIPA pursuant to 740 ILCS 14/20(2), or alternatively, statutory

9    damages of $1,000 per negligent violation of §15(a) of the BIPA pursuant to 740 ILCS 14/20(1); and
10   (3) reasonable attorneys’ fees and costs expenses pursuant to 740 ILCS 14/20(3).
11                                                  COUNT II
12           Violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/15(b)
                                    (On Behalf of Plaintiff and the Class)
13

14          70.     Plaintiff realleges and incorporates by reference the allegations contained in the
15   preceding paragraphs as though fully set forth herein.
16          71.     Section 15(b) of the BIPA provides that a private entity may not, among other things,
17   collect, capture, purchase, receive through trade, or otherwise obtain a person’s or a customer’s
18   biometric identifiers or biometric information, unless it first:
19                 (l)     informs the subject . . . in writing that a biometric identifier or
            biometric information is being collected or stored;
20
                    (2)    informs the subject . . . in writing of the specific purpose and length of
21          term for which a biometric identifier or biometric information is being collected,
            stored, and used; and
22
                    (3)     receives a written release executed by the subject of the biometric
23          identifier or biometric information . . . .

24   740 ILCS 14/15(b).

25          72.     Facebook is a private entity under the BIPA. See 740 ILCS 14/10.

26          73.     Plaintiff and the Class members are individuals under the BIPA. See id.

27          74.     Facebook collected Plaintiff’s and the Class members’ “biometric identifiers” through

28   its facial recognition software, as alleged above. See id.


                                                   17
                                        CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 27 of 46




1           75.     Plaintiff’s and the Class members’ biometric identifiers collected by Facebook

2    constitute “biometric information” as defined by the BIPA because Facebook used those biometric

3    identifiers to identify Plaintiff and the Class members. See id.

4           76.     Facebook systematically collected, used, and stored Plaintiff’s and the Class members’

5    biometric identifiers and biometric information without first obtaining the written release required by

6    §15(b) of the BIPA.

7           77.     As alleged above, Facebook did not inform Plaintiff or the Class members in writing

8    that their biometric identifiers or biometric information were being collected, stored and used, as

9    required by §15(b) of the BIPA.
10          78.     As alleged above, Facebook did not inform Plaintiff or the Class members in writing
11   of the specific purpose and length of term for which their biometric identifiers or biometric
12   information was being collected, stored and used, as required by §15(b) of the BIPA.
13          79.     By collecting, storing, and using Plaintiff’s and the Class members’ biometric
14   identifiers and biometric information as described herein, Facebook violated Plaintiff’s and the Class
15   members’ rights to privacy in their biometric identifiers or biometric information as set forth in the
16   BIPA, 740 ILCS 14/1 et seq.
17          80.     Facebook’s violations of §15(b) of the BIPA were intentional or reckless because
18   Facebook collected biometric data by default and without written notice as required by the BIPA and,
19   therefore, Plaintiff and the Class members had no opportunity to provide Defendant with a written
20   release, as mandated by the BIPA. Alternatively, Facebook’s violations of §15(b) of the BIPA were
21   negligent because Facebook failed to meet the applicable standard of care in ensuring that its members
22   were informed and consented to the collection, storage, and use of their biometric information and
23   biometric identifiers.
24          81.     As a result of Defendant’s violations of §15(b) of the BIPA, Plaintiff seeks the
25   following relief individually and on behalf of the Class: (l) injunctive and equitable relief pursuant to
26   740 ILCS 14/20(4) requiring Facebook to comply with the BIPA’s requirements for the collection,
27   storage, and use of biometric identifiers and biometric information as alleged herein; (2) statutory
28   damages of $5,000 for each intentional or reckless violation of the BIPA pursuant to 740 ILCS


                                                  18
                                       CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 28 of 46




1    14/20(2), or alternatively, statutory damages of $1,000 per negligent violation of the BIPA pursuant

2    to 740 ILCS 14/20(1); and (3) reasonable attorneys’ fees and costs expenses pursuant to 740 ILCS

3    14/20(3).

4                                                  COUNT III

5             Violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/15(c)
                                     (On Behalf of Plaintiff and the Class)
6

7           82.     Plaintiff realleges and incorporates by reference the allegations contained in the

8    preceding paragraphs as though fully set forth herein.

9           83.     Section 15(c) of the BIPA provides “[n]o private entity in possession of a biometric
10   identifier or biometric information may sell, lease, trade, or otherwise profit from a person’s or a
11   customer’s biometric identifier or biometric information.”
12          84.     As alleged above, Facebook violated BIPA by unlawfully profiting from individuals’
13   biometric identifiers and biometric information, including the biometric identifiers and information
14   of Plaintiff and Class Members.
15          85.     Facebook’s violations of BIPA were intentional and reckless or, pleaded in the
16   alternative, negligent.
17          86.     As a direct and proximate result of Facebook’s violations of BIPA, Plaintiff and Class
18   Members have suffered and will continue to suffer injury.
19          87.     Plaintiff and Class Members seek as monetary relief the greater of $5,000 or actual
20   damages or, pleaded in the alternative, $1,000 or actual damages.
21          88.     Unless and until enjoined and restrained by order of this Court, Facebook’s wrongful
22   conduct will continue to cause great and irreparable injury to Plaintiff and Class Members in that their
23   biometric identifiers and information can be viewed and used by unauthorized persons. Plaintiff and
24   Class Members have no adequate remedy at law for their injuries in that a judgment for monetary
25   damages will not end the misuse of Plaintiff’s and Class Member’s biometric identifiers and
26   information.
27          89.     Plaintiff and Class Members also seek punitive damages, injunctive relief, and the
28   reasonable attorney fees, costs, and expenses relating to this action.


                                                  19
                                       CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 29 of 46




1                                                  COUNT IV

2             Violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/15(d)
                                     (On Behalf of Plaintiff and the Class)
3

4            90.     Plaintiff realleges and incorporates by reference the allegations contained in the

5    preceding paragraphs as though fully set forth herein.

6            91.     Section 15(d) of the BIPA provides that “[n]o private entity in possession of a

7    biometric identifier or biometric information may disclose, redisclose, or otherwise disseminate a

8    person’s or a customer’s biometric identifier or biometric information [...].”

9            92.     As alleged above, Facebook violated BIPA by disclosing and otherwise disseminating,
10   upon information and belief, individuals’ biometric identifiers and information, including the
11   biometric identifiers and information of Plaintiff and Class Member, even though: (a) neither the
12   subjects of the biometric identifiers and information nor their authorized representatives consented to
13   the disclosure; (b) the disclosure did not complete a financial transaction requested or authorized by
14   the subjects of the biometric identifiers and information or their authorized representatives; (c) the
15   disclosure was not required by State or federal law or municipal ordinance; and (d) the disclosure and
16   redisclosure was not required pursuant to a valid warrant or subpoena issued by a court of competent
17   jurisdiction.
18           93.     Facebook’s violations of BIPA were intentional and reckless or, pleaded in the
19   alternative, negligent.
20           94.     As a direct and proximate result of Facebook’s violations of BIPA, Plaintiff and Class
21   Members have suffered and will continue to suffer injury.
22           95.     Plaintiff and Class Members seek as monetary relief the greater of $5,000 or actual
23   damages or, pleaded in the alternative, $1,000 or actual damages.
24           96.     Unless and until enjoined and restrained by order of this Court, Facebook’s wrongful
25   conduct will continue to cause great and irreparable injury to Plaintiff and Class Members in that their
26   biometric identifiers and information can be viewed and used by unauthorized persons. Plaintiff and
27   Class Members have no adequate remedy at law for their injuries in that a judgment for monetary
28


                                                  20
                                       CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 30 of 46




1    damages will not end the misuse of Plaintiff’s and Class Member’s biometric identifiers and

2    information.

3           97.     Plaintiff and Class Members also seek punitive damages, injunctive relief, and the

4    reasonable attorney fees, costs, and expenses relating to this action.

5                                                   COUNT V

6             Violations of the Illinois Biometric Information Privacy Act, 740 ILCS 14/15(e)
                                     (On Behalf of Plaintiff and the Class)
7

8           98.     Plaintiff realleges and incorporates by reference the allegations contained in the

9    preceding paragraphs as though fully set forth herein.
10          99.     Section 15(e) of the BIPA provides that “[a] private entity in possession of a biometric
11   identifier or biometric information shall:”
12          (1)    store, transmit, and protect from disclosure all biometric identifiers and
            biometric information using the reasonable standard of care within the private entity’s
13          industry; and

14          (2)    store, transmit, and protect from disclosure all biometric identifiers and
            biometric information in a manner that is the same as or more protective than the
15          manner in which the private entity stores, transmits, and protects other confidential
            and sensitive information.
16

17          100.    As alleged above, upon information and belief, Facebook violated BIPA because,

18   while in possession of Plaintiff’s and Class Members’ biometric identifiers and information, it failed

19   to protect from disclosure those biometric identifiers and information: (a) using the reasonable

20   standard of care within Facebook industry; and (b) in a manner that is the same as or more protective

21   than the manner in which Facebook protects and protected other confidential and sensitive information

22   when it voluntarily disclosed the biometrics to third parties.

23          101.    Facebook’s violations of BIPA were intentional and reckless or, pleaded in the

24   alternative, negligent.

25          102.    As a direct and proximate result of Facebook’s violations of BIPA, Plaintiff and Class

26   Members have suffered and will continue to suffer injury.

27          103.    Plaintiff and Class Members seek as monetary relief the greater of $5,000 or actual

28   damages or, pleaded in the alternative, $1,000 or actual damages.


                                                  21
                                       CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 31 of 46




1           104.       Unless and until enjoined and restrained by order of this Court, Facebook’s wrongful

2    conduct will continue to cause great and irreparable injury to Plaintiff and Class Members in that their

3    biometric identifiers and information can be viewed and used by unauthorized persons. Plaintiff and

4    Class Members have no adequate remedy at law for their injuries in that a judgment for monetary

5    damages will not end the misuse of Plaintiff’s and Class Member’s biometric identifiers and

6    information.

7           105.       Plaintiff and Class Members also seek punitive damages, injunctive relief, and the

8    reasonable attorney fees, costs, and expenses relating to this action.

9                                                   COUNT VI
10                                           Unjust Enrichment
                                      (On Behalf of Plaintiff and the Class)
11

12          106.       Plaintiff realleges and incorporates by reference the allegations contained in the
13   preceding paragraphs as though fully set forth herein.
14          107.       Facebook obtained a monetary benefit from Plaintiff and Class Members to their
15   detriment. Facebook did so by profiting off of the covert and unauthorized collection of the biometric
16   identifiers and information of Plaintiff and Class Members, while exposing Plaintiff and Class
17   Members to a heightened risk of privacy harms and depriving them of their control over their
18   biometric data.
19          108.       Plaintiff and Class Members did not authorize Facebook to collect, capture, obtain,
20   disclose, redisclose, disseminate and otherwise profit off from their biometric identifiers and
21   information.
22          109.       Facebook appreciated, accepted, and retained the benefit bestowed upon it under
23   inequitable and unjust circumstances arising from Facebook’s conduct toward Plaintiff and Class
24   Members as described herein.
25          110.       Facebook sold, leased, traded, and/or otherwise profited from Plaintiff’s and Class
26   Members’ biometric identifiers and information and did not provide full compensation for the benefit
27   received from Plaintiff and Class Members.
28


                                                    22
                                         CLASS ACTION COMPLAINT
           Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 32 of 46




1            111.    Facebook acquired and caused to be acquired Plaintiff’s and Class Members’ biometric

2    identifiers and information through inequitable means in that it collected, captured and otherwise

3    obtained biometric data from Plaintiff’s and Class Members’ online photos without permission and

4    in violation of Illinois law.

5            112.    Plaintiff and Class Members have no adequate remedy at law.

6            113.    Under the circumstances, it would be unjust and unfair for Facebook to be permitted

7    to retain any of the benefits obtained from Plaintiff and Class Members and their biometric identifiers

8    and information.

9            114.    Under the principles of equity and good conscience, Facebook should not be permitted
10   to retain the biometric identifiers and information belonging to Plaintiff and Class Members because
11   Facebook unlawfully obtained the biometric identifiers and information.
12           115.    Facebook should be compelled to disgorge into a common fund or constructive trust,
13   for the benefit of Plaintiff and Class Members, proceeds that it unjustly received as a result of its
14   collection, capture, obtainment, disclosure, redisclosure, dissemination and profiting off of Plaintiff’s
15   and Class Members’ biometric identifiers and information, including but not limited to the value of
16   the intellectual property derived therefrom.
17   VI.     PRAYER FOR RELIEF
18           WHEREFORE, Plaintiff prays for a judgment against Defendant as follows:
19           A.      Certifying the Class as defined above, appointing Plaintiff as Class Representative, and
20   appointing her undersigned counsel as Class counsel;
21           B.      Declaring that Defendant’s actions, as alleged above, violate §15(a) and (b) of the
22   BIPA, 740 ILCS 14/1 et seq.;
23           C.      Awarding statutory damages of $5,000 for each intentional or reckless violation of the
24   BIPA pursuant to 740 ILCS 14/20(2), or alternatively, statutory damages of $1,000 per negligent
25   violation of the BIPA pursuant to 740 ILCS 14/20(1);
26           D.      Awarding injunctive and equitable relief pursuant to 740 ILCS 14/20(4) requiring
27   Facebook to comply with the BIPA by providing a publicly available retention schedule or guidelines
28   for permanently destroying its users’ biometric identifiers and biometric information and forcing


                                                   23
                                        CLASS ACTION COMPLAINT
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 33 of 46




1    Defendant to stop collecting, storing, and using Plaintiff’s and the Class members’ biometric identifiers

2    and biometric information without first obtaining their informed written consent;

3           E.      An order requiring Facebook to disgorge into a common fund or constructive fund, for

4    the benefit of Plaintiff and members of the proposed Class, proceeds that it unjustly received as a

5    result of its collection, capture, obtainment, disclosure, dissemination, and profiting off of Plaintiff’s

6    and Class Members’ biometric identifiers and information;

7           F.      An award of pre-judgment and post-judgment interest for Plaintiff and members of the

8    proposed Class, as permitted by law;

9           G.      Awarding Plaintiff attorneys’ fees and costs pursuant to 740 ILCS 14/20(3); and
10          H.      Awarding any further relief as the Court may deem just and proper.
11   VII. JURY DEMAND
12          Plaintiff hereby demands a jury trial on all issues so triable.
13   Dated: August 7, 2020                            CARLSON LYNCH LLP

14                                              By: /s/Todd D. Carpenter
                                                    Todd D. Carpenter (234464)
15                                                  1350 Columbia St., Ste. 603
                                                    San Diego, CA 92101
16                                                  Tel.: 619-762-1900
                                                    Fax: 619-756-6991
17                                                  tcarpenter@carlsonlynch.com
18                                                    Kyle A. Shamberg*
                                                      Nicholas R. Lange*
19                                                    CARLSON LYNCH LLP
                                                      111 West Washington Street, Suite 1240
20                                                    Chicago, IL 60602
                                                      Tel.: 312-750-1265
21                                                    kshamberg@carlsonlynch.com
                                                      nlange@carlsonlynch.com
22
                                                      Matthew E. Lee*
23                                                    Erin J. Ruben*
                                                      WHITFIELD BRYSON LLP
24                                                    900 W. Morgan Street
                                                      Raleigh, North Carolina 27603
25                                                    Telephone: (919) 600-5000
                                                      Facsimile: (919) 600-5035
26                                                    dan@whitfieldbryson.com
                                                      matt@whitfieldbryson.com
27                                                    erin@whitfieldbryson.com
28                                                    *Pro Hac Vice applications pending
                                                      Counsel for Plaintiff and the Proposed Class
                                                   24
                                        CLASS ACTION COMPLAINT
Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 34 of 46




                  EXHIBIT C
                        Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 35 of 46
                                                                                                                                                   SUM-100
                                          SUMMONS                                                                            FOR COURT USE ONLY
                                                                                                                         (SOLO PARA USO DE LA CORTE)
                                 (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
FACEBOOK, INC.
                                                                                                                              8/10/2020
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTÁ DEMANDANDO EL DEMANDANTE):
KELLY WHALEN, Individually and on Behalf of All Others Similarly Situated
NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/selfhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
¡AVISO! Lo han demandado. Si no responde dentro de 30 días, la corte puede decidir en su contra sin escuchar su versión. Lea la información a
continuación.
   Tiene 30 DÍAS DE CALENDARIO después de que le entreguen esta citación y papeles legales para presentar una respuesta por escrito en esta
corte y hacer que se entregue una copia al demandante. Una carta o una llamada telefónica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la corte. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la corte y más información en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la corte que le quede más cerca. Si no puede pagar la cuota de presentación, pida al secretario de la corte que
le dé un formulario de exención de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la corte le podrá
quitar su sueldo, dinero y bienes sin más advertencia.
   Hay otros requisitos legales. Es recomendable que llame a un abogado inmediatamente. Si no conoce a un abogado, puede llamar a un servicio de
remisión a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legales gratuitos de un
programa de servicios legales sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniéndose en contacto con la corte o el
colegio de abogados locales. AVISO: Por ley, la corte tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperación de $10,000 ó más de valor recibida mediante un acuerdo o una concesión de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
The name and address of the court is:                                                                   CASE NUMBER: (Número del Caso):
(El nombre y dirección de la corte es): San Mateo Superior Court                                              20-CIV-03346
                                        400 County Center, Redwood City, CA 94063

The name, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la dirección y el número
de teléfono del abogado del demandante, o del demandante que no tiene abogado, es):
Todd Carpenter of CARLSON LYNCH, LLP, 1350 Columbia St., Ste. 603, San Diego, CA 92101, (619) 762-1900
DATE: 8/10/2020                                 Neal I. Taniguchi Clerk, by                                                       , Deputy
(Fecha)                                                                        (Secretario)
                                                                                                         /s/ Unaloto Finau (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citatión use el formulario Proof of Service of Summons, (POS-010).)
                                 NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                     1.          as an individual defendant.
                                     2.          as the person sued under the fictitious name of (specify):

                                     3.          on behalf of (specify):
                                          under:        CCP 416.10 (corporation)                                  CCP 416.60 (minor)
                                                        CCP 416.20 (defunct corporation)                          CCP 416.70 (conservatee)
                                                        CCP 416.40 (association or partnership)                   CCP 416.90 (authorized person)
                                                        other (specify):
                                     4.          by personal delivery on (date)                                                                        Page 1 of 1
Form Adopted for Mandatory Use
Judicial Council of California
                                                                     SUMMONS                                                 Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                 www.courts.ca.gov
SUM-100 [Rev. July 1, 2009]
Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 36 of 46




                  EXHIBIT D
                                                                                                                                                              CM-010
                        Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 PageFOR37
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):            of 46
                                                                                   COURT USE ONLY
CARLSON LYNCH, LLP
TODD D. CARPENTER (234464)
1350 Columbia Street, Suite 603, San Diego, CA 92101

          TELEPHONE NO.:     619-762-1910                    FAX NO. (Optional):   619-756-6991
     ATTORNEY FOR (Name):    Plaintiff Kelly Whalen
SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN MATEO
 STREET ADDRESS:     400 County Center                                                                                      8/10/2020
 MAILING ADDRESS:
CITY AND ZIP CODE:   Redwood City, CA 94063
     BRANCH NAME:    Hall of Justice
CASE NAME:
 Whalen v. Facebook, Inc,
       CIVIL CASE COVER SHEET                                  Complex Case Designation                   CASE NUMBER:

        Unlimited                       Limited                Counter               Joinder
                                                                                                                           20-CIV-03346
        (Amount                         (Amount
                                                       Filed with first appearance by defendant JUDGE:
        demanded                        demanded is
                                                           (Cal. Rules of Court, rule 3.402)
        exceeds $25,000)                $25,000)                                                 DEPT.:

                                         Items 1–6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
     Auto Tort                                             Contract                                     Provisionally Complex Civil Litigation
           Auto (22)                                              Breach of contract/warranty (06)      (Cal. Rules of Court, rules 3.400–3.403)
           Uninsured motorist (46)                                Rule 3.740 collections (09)                  Antitrust/Trade regulation (03)
     Other PI/PD/WD (Personal Injury/Property                     Other collections (09)                      Construction defect (10)
     Damage/Wrongful Death) Tort                                                                              Mass tort (40)
                                                                  Insurance coverage (18)
             Asbestos (04)                                                                                    Securities litigation (28)
                                                                 Other contract (37)
             Product liability (24)                                                                           Environmental/Toxic tort (30)
                                                           Real Property
             Medical malpractice (45)                                                                         Insurance coverage claims arising from the
                                                                  Eminent domain/Inverse
                                                                                                              above listed provisionally complex case
          Other PI/PD/WD (23)                                     condemnation (14)
                                                                                                              types (41)
     Non-PI/PD/WD (Other) Tort                                    Wrongful eviction (33)                Enforcement of Judgment
             Business tort/unfair business practice (07)        Other real property (26)                      Enforcement of judgment (20)
             Civil rights (08)                             Unlawful Detainer
                                                                                                        Miscellaneous Civil Complaint
             Defamation (13)                                      Commercial (31)
                                                                                                              RICO (27)
            Fraud (16)                                            Residential (32)
                                                                                                              Other complaint (not specified above) (42)
             Intellectual property (19)                          Drugs (38)
                                                                                                        Miscellaneous Civil Petition
             Professional negligence (25)                  Judicial Review
                                                                  Asset forfeiture (05)                       Partnership and corporate governance (21)
          Other non-PI/PD/WD tort (35)
     Employment                                                   Petition re: arbitration award (11)         Other petition (not specified above) (43)

             Wrongful termination (36)                            Writ of mandate (02)
             Other employment (15)                                Other judicial review (39)
2.  This case         is           is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a.        Large number of separately represented parties       d.         Large number of witnesses
   b.        Extensive motion practice raising difficult or novel e.         Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                   courts in other counties, states, or countries, or in a federal
   c.        Substantial amount of documentary evidence                      court
                                                                  f.         Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a.          monetary b.        nonmonetary; declaratory or injunctive relief c.           punitive
4. Number of causes of action (specify): 6:Violation of 740 ILCS 14/15(a); 740 ILCS 14/15(b); 740 ILCS 14/15(c); 740 ILCS 14/15(d)
5. This case X         is          is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date: August 7, 2020
Todd D. Carpenter                                                                            /s/ Todd D. Carpetner
                            (TYPE OR PRINT NAME)                                                             (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                              NOTICE
  • Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
     under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
     in sanctions.
 •   File this cover sheet in addition to any cover sheet required by local court rule.
 •   If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
     other parties to the action or proceeding.
 •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                             Page 1 of 2
Form Adopted for Mandatory Use                                                                                  Cal. Rules of Court, rules 2.30, 3.220, 3.400–3.403, 3.740;
Judicial Council of California                               CIVIL CASE COVER SHEET                                     Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev. July 1, 2007]                                                                                                                               www.courts.ca.gov
                         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 38 of 46                                                CM-010
                               INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiff's designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                          Provisionally Complex Civil Litigation (Cal.
   Auto (22)–Personal Injury/Property              Breach of Contract/Warranty (06)               Rules of Court Rules 3.400–3.403)
           Damage/Wrongful Death                       Breach of Rental/Lease                          Antitrust/Trade Regulation (03)
       Uninsured Motorist (46) (if the                      Contract (not unlawful detainer            Construction Defect (10)
        case involves an uninsured                              or wrongful eviction)                  Claims Involving Mass Tort (40)
        motorist claim subject to                      Contract/Warranty Breach–Seller                 Securities Litigation (28)
        arbitration, check this item                        Plaintiff (not fraud or negligence)        Environmental/Toxic Tort (30)
        instead of Auto)                               Negligent Breach of Contract/                   Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                           Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                      case type listed above) (41)
 Tort                                              Collections (e.g., money owed, open            Enforcement of Judgment
     Asbestos (04)                                     book accounts) (09)                           Enforcement of Judgment (20)
         Asbestos Property Damage                      Collection Case–Seller Plaintiff                  Abstract of Judgment (Out of
         Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
               Wrongful Death                               Case                                     Confession of Judgment (non-
      Product Liability (not asbestos or           Insurance Coverage (not provisionally                  domestic relations)
          toxic/environmental) (24)                    complex) (18)                                 Sister State Judgment
      Medical Malpractice (45)                         Auto Subrogation                              Administrative Agency Award
           Medical Malpractice–                        Other Coverage                                    (not unpaid taxes)
                Physicians & Surgeons              Other Contract (37)                               Petition/Certification of Entry of
      Other Professional Health Care                   Contractual Fraud                                  Judgment on Unpaid Taxes
              Malpractice                              Other Contract Dispute                        Other Enforcement of Judgment
      Other PI/PD/WD (23)                       Real Property                                               Case
           Premises Liability (e.g., slip          Eminent Domain/Inverse                         Miscellaneous Civil Complaint
                and fall)                              Condemnation (14)                             RICO (27)
           Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                            Other Complaint (not specified
                 (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) (26)            above) (42)
           Intentional Infliction of                   Writ of Possession of Real Property                 Declaratory Relief Only
                Emotional Distress                     Mortgage Foreclosure                                Injunctive Relief Only (non-
           Negligent Infliction of                     Quiet Title                                              harassment)
                 Emotional Distress                    Other Real Property (not eminent                    Mechanics Lien
           Other PI/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                             foreclosure)                                             Case (non-tort/non-complex)
      Business Tort/Unfair Business             Unlawful Detainer                                          Other Civil Complaint
          Practice (07)                            Commercial (31)                                              (non-tort/non-complex)
      Civil Rights (e.g., discrimination,          Residential (32)                               Miscellaneous Civil Petition
            false arrest) (not civil               Drugs (38) (if the case involves illegal          Partnership and Corporate
            harassment) (08)                       drugs, check this item; otherwise,                     Governance (21)
      Defamation (e.g., slander, libel)            report as Commercial or Residential)              Other Petition (not specified
             (13)                               Judicial Review                                           above) (43)
      Fraud (16)                                   Asset Forfeiture (05)                                  Civil Harassment
      Intellectual Property (19)                   Petition Re: Arbitration Award (11)                    Workplace Violence
      Professional Negligence (25)                 Writ of Mandate (02)                                   Elder/Dependent Adult
          Legal Malpractice                            Writ–Administrative Mandamus                            Abuse
          Other Professional Malpractice               Writ–Mandamus on Limited Court                     Election Contest
               (not medical or legal)                      Case Matter                                    Petition for Name Change
      Other Non-PI/PD/WD Tort (35)                     Writ–Other Limited Court Case                      Petition for Relief From Late
 Employment                                                Review                                              Claim
      Wrongful Termination (36)                    Other Judicial Review (39)                             Other Civil Petition
      Other Employment (15)                            Review of Health Officer Order
                                                       Notice of Appeal–Labor
                                                            Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                                Page 2 of 2
                                                        CIVIL CASE COVER SHEET
Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 39 of 46




                  EXHIBIT E
         Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 40 of 46



Attorney or Party without Attorney (Name/Address)                         FOR COURT USE ONLY
Todd D. Carpenter (CA Bar No. 234464)
CARLSON LYNCH LLP
1350 Columbia St., Suite 603, San Diego, CA 92101
Telephone: 619-762-1900
State Bar No.: 234464
Attorney for: Plaintiff Kelly Whalen
SUPERIOR COURT OF CALIFORNIA
COUNTY OF SAN MATEO                                                              8/10/2020
400 COUNTY CENTER
REDWOOD CITY, CA 94063
Plaintiff Kelly Whalen

Defendant Facebook, Inc.

                                                                                Case Number
             Certificate Re Complex Case Designation
                                                                           20-CIV-03346


 This certificate must be completed and filed with your Civil Case Cover Sheet if
     you have checked a Complex Case designation or Counter-Designation

    1.      In the attached Civil Case Cover Sheet, this case is being designated or counter-designated
            as a complex case [or as not a complex case] because at least one or more of the following
            boxes has been checked:

                 Box 1 – Case type that is best described as being [or not being] provisionally
                 complex civil litigation (i.e., antitrust or trade regulation claims, construction
                 defect claims involving many parties or structures, securities claims or investment
                 losses involving many parties, environmental or toxic tort claims involving many
                 parties, claims involving mass torts, or insurance coverage claims arising out of
                 any of the foregoing claims).
                 Box 2 – Complex [or not complex] due to factors requiring exceptional judicial
                 management
               X Box 5 – Is [or is not] a class action suit.


    2.      This case is being so designated based upon the following supporting information
            [including, without limitation, a brief description of the following factors as they pertain to
            this particular case: (1) management of a large number of separately represented parties;
            (2) complexity of anticipated factual and/or legal issues; (3) numerous pretrial motions
            that will be time-consuming to resolve; (4) management of a large number of witnesses or
            a substantial amount of documentary evidence; (5) coordination with related actions




CV-59 [Rev. 1/06]                                                             www.sanmateocourt.org
        Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 41 of 46



            pending in one or more courts in other counties, states or countries or in a federal court;
            (6) whether or not certification of a putative class action will in fact be pursued; and (7)
            substantial post-judgment judicial supervision]:
            (2)complexity of anticipated factual and/or legal issues; (3) numerous pretrial

            motions that will be time-consuming to resolve; (4) management of a large number

            of witnesses or a substantial amount of documentary evidence; (6) certification of a

            putative class action will in fact be pursued




                                     (attach additional pages if necessary)


3.      Based on the above-stated supporting information, there is a reasonable basis for the complex
        case designation or counter-designation [or noncomplex case counter-designation] being made
        in the attached Civil Case Cover Sheet.



                                                  *****


I, the undersigned counsel or self-represented party, hereby certify that the above is true and correct
and that I make this certification subject to the applicable provisions of California Code of Civil
Procedure, Section 128.7 and/or California Rules of Professional Conduct, Rule 5-200 (B) and San
Mateo County Superior Court Local Rules, Local Rule 2.30.


        8/7/2020
Dated: ___________________


 Todd D. Carpenter
________________________________                 /s/ Todd D. Carpenter
                                               ______________________________________
[Type or Print Name]                           [Signature of Party or Attorney For Party]




CV-59 [Rev. 1/06]                                                             www.sanmateocourt.org
Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 42 of 46




                   EXHBIT F
                   Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 43 of 46


                                                            SUPERIOR COURT OF SAN MATEO COUNTY
                                                                                                                                    EEELE B
                                                                                                                    FOR
                                                                                                                            ' ‘
                                                                                                                          coT        '   '
                                                            400 Count y Center, Redwood City, CA 94063                                       -

                                                                     wwwisanmateocourtorg
                                                                                                                      3AM MATEO coum-v

                                                                                                                                    AUG 1 0 2023

    PLAINTIFF: KELLY WHALEN

    DEFENDANT: FACEBOOK, INC

       NOTICE OF ASSIGNMENT FOR ALL PURPOSES, DESIGNATION AS
                                                                                                                    CASE NU M BER:
     COMPLEX CASE, SETIING OI= CASE MANAGEMENT CONFERENCE AND
                       '                                                                                             20-CIV-03346
                          COMPLEX FEES DUE


This case has been .filed by Plaintifs) as a putative Class action. By Standing Order 18-148 of the Presiding Judge,
pursuant to California Rules of Court 3.400 and 3.403, this action is automatically deemed a ”complex case” and
assigned for all purposes to the Court’s Complex Civil Litigation Judge, the Honorable Marie S. Weine'r, Department 2,
located at 400 County Center, Courtroom 2E, Redwood City, California 94063, (650) 261-5102.

The parties or their attorneys of record must appear for a Case Management Conference in Department 2 on
11(3012020 at‘9:00 a.m.

Pursuant to Government Code Section 70616(a), the complex-case fee and the first appearance fee must be paid at
th’e time of filing of the first paper in this complex Case (Govt.C. 70616(b) and (d)).


Plaintiff(s) pay   a   single complex case fee of $1,000 on behalf of all plaintiffs, whether filing separately Orjointly.

Defendant(s) pay a'Complex’Case fee of $1,000 each on behalf of each defendant, intervenor, respondent, or adverse
party, whether filling separately orjointly, at the time that party files its first paper in this case, not to exceed $18,000
                           '               '3               '                                          '

total.

PLAINTIFF(S) IS/ARE REQUIRED TO SERVE A COPY OF THIS NOTICE ON ALL OTHER PARTIES TO THIS ACTION OR
PROCEEDING, and promptly file proof of service.

                                                        ‘
Date: 8/10/2020                    -
                                                                                      Neal ITaniguchi, Court Executive Officer/Clerk



                               -
                                       -
                                           CLERK'S CERTIFICATE OF SERVICE                                                       I




|
 hereby certify that am the clerk Of this Court, not a party to this cause; that'
                                                I                                                              I   served a copy of this notice on the
belo‘w date, by personally delivering a copy of this Notice to the Plaintiff or de                                  e at 400 County Center, Redwood
City, California.

Date: 8/10/2020.                                    -
                                                                '

                                                                                      By:                  ”A              ,.


                                                                                                                          Clerk
                                                                                            Una/lofo
                                                                                                       FinaLW/rtroom
                Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 44 of 46

Mailing List:


TODD D CARPENfER
CARLSON LYNCH LEP
1350 COLUMBIA STREET    '   ‘



SUITE 603
SAN DIEGO CA; 92101
Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 45 of 46




                  EXHIBIT G
                       Case 4:20-cv-06361-KAW Document 1-1 Filed 09/09/20 Page 46 of 46

 Attorney or Party without Attorney:                                                                                            For Court Use Only
  Todd Carpenter, Esq., Bar #234464
  Carlson Lynch, LLP
  1350 Columbia Street, Suite 603
  San Diego, CA 92101                                                                                                        8/27/2020
 Telephone No: 619-762-1910        FAX No: 619-756-6991
                                                                          Ref No. or File No.:
                                                                         '
 Attorney for:   Plaintiff
 Insert name of Court, and Judicial District and Branch Court:
  San Mateo Countv Suoerior Court
 Plaintiff:
         Kelly Whalen, Individually, et al.
 Defendant: Facebook, Inc.
        PROOF OF SERVICE                            Hea,ing Date:                 Time:              Dept/Div:       Case Number:
                                                   I                                             I
        Summons & Complaint                                                                                           20CIV03346
 1. At the time of service I was at least 18 years of age and not a party to this action.

2. I served copies of the Summons; Class Action Complaint; Civil Case Cover Sheet; Certificate Re Complex Case Designation; ADR
   Information Sheet; ADR Stipulation and Evaluation Instructions Case Management Statement (blank)

3. a. Party served:                                              Facebook, Inc.
   b. Person served:                                             Kaitlyn Mannix, Service of Process Intake Clerk, Caucasian, Female, 32 Years Old,
                                                                 Brown Hair, Brown Eyes, 5 Feet 7 Inches, 190 Pounds.

4. Address where the party was served:                           Corporation Service Company
                                                                 2710 Gateway Oaks Dr.# 150N
                                                                 Sacramento, CA 95833
5. I served the party:
   a. by personal service. I personally delivered the documents listed in item 2 to the party or person authorized to receive
      process for the party (1) on: Tue., Aug. 11, 2020 (2) at: 10:49AM

6. The "Notice to the Person Served" (on the Summons) was completed as follows:
    on behalf of Facebook, Inc.
     Under CCP 416.10 (corporation)

7. Person Who Served Papers:                                                                           Recoverable Cost Per CCP 1033.5(a)(4)(B)
     a. Robert J. Mason                                                       d. The Fee for Service was:
     b. Class Action Research & Litigation                                    e. I am: (3) registered California process server
        P OBox 740                                                                        (i) Independent Contractor
        Penryn, CA 95663                                                                  (ii) Registration No.:     03-007
     c. (916) 663-2562, FAX (916) 663-4955                                                (iii) County:              Placer




8. I declare under penalty of perjury under the laws of the State of California that the foregoinv�· �- and correct.
   Date: Wed, Aug. 12, 2020

                                                                                           -------------nT::"C=-r-irr.::-:=.--------­
                                                                                                                                                  ca22.209455
    Judicial Council Form POS-010                                   PROOF OF SERVICE
Rule 2.150.(a)&(b) Rev January 1, 2007                              Summons & Complaint
